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                                UNITED STATES DISTRICT COURT
                                    DISTRICT OF COLUMBIA


 PEOPLE FOR THE ETHICAL
 TREATMENT OF ANIMALS, MADELINE
 KRASNO, and RYAN HARTKOPF,

                  Plaintiffs,
                                                           Civil Action No. 21-2380 (BAH)
         v.

 LAWRENCE A. TABAK, in his official
 capacity as Acting Director of the Institutes of
 Health, and XAVIER BECERRA, in his
 official capacity as Secretary of the U.S.
 Department of Health and Human Services,

                  Defendants.


                 PLAINTIFFS’ NOTICE OF SUPPLEMENTAL AUTHORITY

        Plaintiffs write to respectfully notify this Court of the recent decision in Garnier v.

O’Connor-Ratcliff, Nos. 21-55118, 21-55157, 2022 WL 2963453 (9th Cir. July 27, 2022)

(attached as Exhibit A).

        In Garnier, the Ninth Circuit held that two members of a public school district’s board of

trustees violated the First Amendment by blocking constituents from their social media accounts.

The court first held that the trustees’ actions were subject to First Amendment scrutiny, because

they were acting under color of state law when they operated social media accounts in their official

capacities. Ex. A at 33–34. The court then determined that the trustees’ Facebook and Twitter

accounts were public forums, id. at 38, and that the trustees’ actions violated the First Amendment,

id. at 46.

        First, as relevant here, the Ninth Circuit concluded that the trustees’ social media accounts

were open designated public forums at the time they blocked their constituents. The court began
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from the premise that social media sites “are fora inherently compatible with expressive activities.”

Ex. A at 36. In concluding that the comment sections of the trustees’ social media accounts

functioned as open public forums, the Ninth Circuit rejected the trustees’ assertion that they

“intended their social media pages to be a ‘one way’ channel of communication,” not a forum for

speech by members of the public. Id. Emphasizing that “what matters in forum analysis ‘is what

the government actually does—specifically, whether it consistently enforces the restrictions on use

of the forum that it adopted,’” id. (quoting Hopper v. City of Pasco, 241 F.3d 1067, 1075 (9th Cir.

2001)), the Ninth Circuit noted that the trustees’ social media accounts “were open and available

to the public without any restriction on the form or content of comments,” and that the trustees did

not clearly define or consistently enforce any limits on the kinds of comments that could be made

in the forums. Id. It was only after they effectively banned any verbal comments on their pages

(by limiting interaction to non-verbal reaction icons) that the trustees exercised sufficient “clear

and consistent control” over the forum to make it a limited public forum. Id. at 38 (quoting Hopper,

241 F.3d at 1080) .

       Second, the Ninth Circuit concluded that the trustees’ decision to block their constituents

indefinitely violated the First Amendment. The trustees had argued that their blocking of the two

plaintiffs was a viewpoint-neutral way to prevent the plaintiffs from “spamming [them]

repetitively” and thus, according to the trustees, interfering with the ability of others to read the

original post or make comments of their own. Ex. A at 39. Although the court doubted the trustees’

claim that they were not motivated by viewpoint discrimination, it found it unnecessary to decide

the issue because it concluded that the blocking violated the First Amendment even if viewed as a

“time, place, and manner” restriction. Id. The court held that the blocking violated even this lower

standard of First Amendment scrutiny because the trustees’ claimed interest in preventing




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“disruption” was unsubstantiated in the context of social media pages, id. at 41–43, and because

blocking the plaintiffs entirely restricted substantially more speech than necessary to further the

trustees’ claimed interests, id. at 43–46.

       The reasoning in Garnier strongly supports Plaintiffs’ arguments in this case. As in

Garnier, the NIH Facebook Page and Instagram Account are inherently compatible with speech,

and the accounts’ comment sections are generally open to the public for comment. Pls. Br. 23–

26, ECF No. 30-1; Pls. Reply 9, 11–12, ECF No. 35. Garnier also confirms that this Court

should analyze the nature of the comment threads based on the NIH’s practice in operating them,

not the NIH’s own statements of intent or unenforced comment guidelines. Pls. Br. 26–27; Pls.

Reply 13–19. Further, as Plaintiffs have explained, the NIH’s invocation of disruption or

distraction as a justification for its expansive keyword blocking practice is unconvincing in

light of the lack of evidence of actual disruption. See Pls. Br. 37–38; Pls. Reply Br. 19–20.

Finally, just as the constituents’ blocking in Garnier burdened substantially more speech than

necessary, so too does the NIH’s prior restraint on all comments containing two dozen words

and phrases. see Pls. Br. 38–39; Pls. Reply 20–22.

                                                    Respectfully submitted,

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